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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


BERKELEY COUNTY SCHOOL BOARD
OF TRUSTEES,

                       Petitioners,
       v.                                           C.A. No. 2:18-cv-00151-DCN

HUB INTERNATIONAL LIMITED, HUB
INTERNATIONAL MIDWEST LIMITED,
HUB INTERNATIONAL SOUTHEAST,
KNAUFF INSURANCE AGENCY, INC.,
STANLEY J. POKORNEY,
SCOTT POKERNEY, and
BRANTLEY THOMAS,

                       Respondent.



            MOTION BY DEFENDANTS HUB INTERNATIONAL LIMITED AND
                    HUB INTERNATIONAL MIDWEST LIMITED
                    TO ENLARGE FOR ALL DEFENDANTS THE
                TIME FOR FILING AN ANSWER OR RULE 12 MOTION

       Defendants Hub International Limited and Hub International Midwest Limited (the “Hub

Defendants”), by counsel, respectfully move pursuant to Local Civil Rule 6.01 to enlarge for

every Defendant the time within which an answer or motion is due under FRCP Rule 12, and in

support thereof state as follows:

       1.      The deadline for the Hub Defendants to file an answer or motion under FRCP

               Rule 12 has always been March 20, 2018. The deadline for Defendants Hub

               International Southeast, Knauff Insurance Agency, Inc.,1 Stanley Pokorney, Scott



1
  Hub International Southeast is not a separate corporate entity, but rather a division of Hub
International Midwest Limited, and Knauff Insurance Agency, Inc. has been merged into
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             Pokorney, and Brantley Thomas was extended only one time, to that same date of

             March 20, by consent of the parties and Order of this Court dated February 9,

             2018. Dkt. 15.


      2.     Yesterday, on March 5, the Hub Defendants filed their Motion To Enforce

             Arbitration Agreements and Memorandum in Support (the “Arbitration Motion”),

             which requests that this Court stay this action in its entirety pursuant to the

             Federal Arbitration Act (“FAA”), 9 U.S.C. §§1-4, pending arbitration. Dkt. 23.


      3.     The Hub Defendants request an extension of the due date until fourteen (14) days

             after this Court rules on the Arbitration Motion. This extension should be granted

             so as to avoid wasted effort by the Court and by the parties in this action because,

             as set forth in the Arbitration Motion, the dispute set forth in this action should

             proceed only by arbitration.      Toward that end, the Hub Defendants have

             withdrawn their previously filed Motion To Stay Discovery, Docket 19.


      4.     This requested extension would not affect any other deadlines, as this case is in its

             infancy and no other deadlines have been set.


      5.     Counsel for the Hub Defendants conferred with counsel who have filed an

             appearance for any of the Defendants, as well as counsel for Plaintiff Berkeley

             County School Board.       Counsel for Defendants Stanley Pokorney and Scott




Defendant Hub International Midwest Limited, thus neither one is a proper defendant in this
action.




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              Pokorney consent to the extension, and Counsel for Plaintiff does not consent to

              the extension.


       WHEREFORE, the Hub Defendants request that this Court extend the date by which

each Defendant is to file an answer or motion under FRCP Rule 12 until fourteen (14) days after

the Court rules on the pending Arbitration Motion.



Dated: March 6, 2018                                      Respectfully submitted,

                                                          /s Christy Ford Allen

Thomas J. Wiegand, admitted pro hac vice                  John A. Massalon (# 5227)
MOLOLAMKEN LLP                                            Christy F. Allen (# 07549)
300 N. LaSalle St.                                        WILLS MASSALON & ALLEN LLC
Chicago, IL 60654                                         PO Box 859
(312) 450-6700 (telephone)                                Charleston, SC 29402
(312) 450-6701 (facsimile)                                (843) 727-1144 (telephone)
twiegand@mololamken.com                                   (843) 727-7696 (facsimile)
                                                          jmassalon@wmalawfirm.net
Michael G. Pattillo, pro hac vice motion                  callen@wmalawfirm.net
forthcoming
William J. Cooper, pro hac vice motion
forthcoming
MOLOLAMKEN LLP
600 New Hampshire Ave., NW
Washington, DC 20037
(202) 556-2000 (telephone)
(202) 556-2001 (facsimile)


  Attorneys for Defendants Hub International Limited and Hub International Midwest Limited




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